908 F.2d 968
    U.S.v.Al-Madani (Omar), All African Peoples' Revolutionary Party,American Indian Movement/ International Indian TreatyCouncil, El Portido La Raza Unida, New Afrikan Peoples'Organization, National Black, United Front, Republic of NewAfrika, Piscataway Indian Nation, Center for ConstitutionalRights, Commission for Racial Justice of United Church ofChrist, National Rainbow Coalition
    NO. 89-5407
    United States Court of Appeals,Fourth Circuit.
    JUN 21, 1990
    
      1
      Appeal From:  E.D.Va.
    
    
      2
      AFFIRMED.
    
    